                 Case 2:18-cv-00928-MJP Document 42 Filed 09/06/18 Page 1 of 3




 1                                         UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF WASHINGTON
 2

 3     Yolany PADILLA, et al.,
 4
                               Plaintiffs,                            Case No. 18-cv-0928 MJP
 5              v.
                                                                      DECLARATION OF KATHRINE
 6     U.S. IMMIGRATION AND CUSTOMS                                   RUSSELL
       ENFORCEMENT, et al.,                                           IN SUPPORT OF PLAINTIFFS’
 7                                                                    AMENDED
                               Defendants.                            MOTION FOR CLASS
 8
                                                                      CERTIFICATION
 9

10

11    I, Kathrine Russell, hereby declare:
12
      1.        I am an attorney licensed to practice law in Texas. My business address is 802
13
                Kentucky Ave, San Antonio, TX 78201.
14
      2.        I have been practicing immigration law since 2009, and I am currently a staff attorney at
15
                Refugee and Immigrant Center for Education and Services (RAICES) in San Antonio,
16

17              TX. My practice primarily involves representing detained adults in removal

18              proceedings. I represent individuals before the San Antonio and Pearsall immigration
19              courts.
20
      3.        My colleagues and I regularly represent people who have expressed a fear of return to
21
                their country of origins or an intention to apply for asylum to officials in the
22
                Department of Homeland Security. In my experience, the Asylum Office routinely fails
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24              to conduct a credible fear interview within 10 days after my clients have requested

25              asylum or expressed a fear of return. Almost always, my clients must wait at least three

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                                                         1
     RUSSELL DECL.                                                      NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:18 cv 00928-MJP -1                                                   615 Second Avenue, Suite 400
                                                                                               Seattle, WA 98104
                                                                                              Tel. (206) 957-8611
                 Case 2:18-cv-00928-MJP Document 42 Filed 09/06/18 Page 2 of 3




 1              weeks for the interview to take place. In one case, my client waited for more than two

 2              months before the Asylum Office conducted a credible fear interview.
 3
      4.         I represent detained clients whom an asylum officer has determined have a credible
 4
                fear of return to their country of origin, who initially entered the country without
 5
                inspection, and who are eligible for release from immigration custody. I estimate that
 6
                my colleagues and I represent at least two such clients in bond hearings each month at
 7

 8              the South Texas Detention Complex in Pearsall, TX.

 9    5.        These clients who request bond hearings after a positive credible fear determination
10              regularly wait more than 7 days, and sometimes up to six weeks, for a bond hearing.
11
                Represented clients can sometimes make motions to advance these hearings through
12
                counsel, but pro se clients generally must wait until their originally scheduled dates.
13
      6.        None of our clients receive written bond decisions from immigration judges with
14

15              particularized findings unless they file an appeal with the Board of Immigration

16              Appeals. When the immigration judge issues a decision in these cases, it is on a

17              Custody Order of the Immigration Judge form. When an appeal is filed, if the hearing
18              was not recorded, there is no written transcript to consult.
19
                I declare under penalty of perjury of the laws of the State of Texas and the United States
20
      that the foregoing is true and correct to the best of my knowledge and belief. Executed the 6th
21
      day of September 2018 in San Antonio, Texas.
22
                                                       By:    s/ Katherine Russell
23                                                            Kathrine Russell
24

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                                                         2
     RUSSELL DECL.                                                      NORTHWEST IMMIGRANT RIGHTS PROJECT
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                 Case 2:18-cv-00928-MJP Document 42 Filed 09/06/18 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE

 2            I hereby certify that on September 6, 2018, I filed the foregoing with the Clerk of the
 3
     Court using the CM/ECF system, which will send notification of such filing to those attorneys of
 4
     record registered on the CM/ECF system. All other parties shall be served in accordance with the
 5
     Federal Rules of Civil Procedure.
 6
              DATED this 6th day of September, 2018.
 7

 8            s/ Glenda M. Aldana Madrid
              Glenda M. Aldana Madrid
 9            NORTHWEST IMMIGRANT RIGHTS PROJECT
              615 Second Avenue, Suite 400
10            Seattle, WA 98104
11            Telephone: (206) 957-8646
              Facsimile: (206) 587-4025
12            E-mail: glenda@nwirp.org

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